         Case 2:12-cv-00859-LMA Document 1220 Filed 01/22/19 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                                  CIVIL ACTION

VERSUS                                                                    No. 12-859

MARLIN GUSMAN, ET AL.                                                     SECTION I


                                       ORDER

         Considering the United States of America’s motion 1 to stay the January 25,

2019 status conference,

         IT IS ORDERED that the motion is GRANTED IN PART and DENIED IN

PART. United States Department of Justice attorneys are permitted to participate

telephonically. They shall provide the Court with their contact information no later

than January 24, 2019 at 5:00 P.M. The Court will initiate the call.

         New Orleans, Louisiana, January 22, 2019.



                                        _______________________________________
                                                LANCE M. AFRICK
                                        UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 1219.
